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 PROB 12C                                                                        Report Date: November 12, 2024
(6/16)
                                                                                                         FILED IN THE
                                      United States District Court                                   U.S. DISTRICT COURT
                                                                                               EASTERN DISTRICT OF WASHINGTON


                                                     for the                                    Nov 13, 2024
                                                                                                    SEAN F. MCAVOY, CLERK
                                       Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Alberto Alejandro Martinez              Case Number: 0980 2:22CR00165-TOR-1
 Address of Offender:                             Moses Lake, Washington 98837
 Name of Sentencing Judicial Officer: The Honorable Anna J. Brown, Senior U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: October 18, 2017
 Original Offense:         Conspiracy to Distribute and Possess with Intent to Distribute Methamphetamine and
                           Cocaine, 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii), (b)(1)(A)(ii) and 846
 Original Sentence:        Prison - 77 months              Type of Supervision: Supervised Release
                           TSR - 60 months

 Revocation                Prison - 18 months
 Sentence: (April 13,      TSR - 42 months
 2023)
 Asst. U.S. Attorney:      Caitlin A. Baunsgard            Date Supervision Commenced: April 15, 2024
 Defense Attorney:        Federal Defenders Office         Date Supervision Expires: October 14, 2027


                                         PETITIONING THE COURT

To incorporate the violation(s) contained in this petition in future proceedings with the violation(s) previously
reported to the Court on 10/18/2024.

On April 15, 2024, the conditions of supervision were reviewed with Mr. Martinez. He signed his judgment
acknowledging an understanding of his conditions.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            4           Mandatory Condition #1: You must not commit another federal, state or local crime.

                        Supporting Evidence: It is alleged that Mr. Martinez violated the conditions of his
                        supervised release on or about November 12, 2024, for committing the criminal offense of
                        Felony Possession with Intent to Deliver Methamphetamine (RCW69.50.401(2)(B)).

                        On November 12, 2024, at approximately 5:12 a.m., per Grant County Sheriff’s Office
                        (GCSO) case number report 24GS13972, a GCSO corporal observed a vehicle that appeared
                        to be speeding and take a hard and abrupt turn. Due to the erratic driving the corporal
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                 attempted to follow and locate the vehicle. The corporal drove into a parking lot and was
                 able to locate the aforementioned vehicle. Although unoccupied, the vehicle’s license plate
                 showed the registered owner to be Mr. Alberto Martinez. Dispatch informed the corporal
                 that Mr. Martinez had an active federal warrant that was issued on October 18, 2024.

                 While in the parking lot, the corporal noticed individuals going into work at the warehouse.
                 An employee informed the corporal that Mr. Martinez was inside. Upon entering the
                 warehouse the corporal identified a male approximately 100 yards away who matched the
                 description of Mr. Martinez. The male in question began walking at a fast pace toward an
                 exit. The corporal began to jog and caught up with the male who he confirmed to be Mr.
                 Martinez and placed him into hand restraints. Mr. Martinez was searched subject to his arrest
                 and he advised that he had a pipe in his pocket. The pipe was subsequently located with a
                 white crystalline substance inside. Based on his training and expertise, the corporal
                 identifed the white crystalline substance to be methamphetamine. The search continued and
                 six individually wrapped balloons were located in Mr. Martinez’ front left jacket pocket. Mr.
                 Martinez was read his constitutional rights (Miranda warnings) and he informed the corporal
                 the pipe was his and that the balloons contained methamphetamine. Mr. Martinez was
                 arrested on the aforementioned charge and he remains in the Grant County Jail as of this
                 writing. It should also be noted that a search warrant of Mr. Martinez’ vehicle is being
                 applied for as the corporal observed a clear plastic baggie inside the driver’s side door. The
                 baggie appeared to contain a white crystalline substance similar to what Mr. Martinez had
                 on his person.
          5      Mandatory Condition #2: You must not unlawfully possess a controlled substance,
                 including marijuana, which remains illegal under federal law.

                 Supporting Evidence: It is alleged that Mr. Martinez violated the conditions of his
                 supervised release on or about November 12, 2024, by possessing a controlled substance,
                 specifically methamphetamine.

                 On November 12, 2024, at approximately 5:12 a.m., per Grant County Sheriff’s Office
                 (GCSO) case number report 24GS13972, a GCSO corporal observed a vehicle that appeared
                 to be speeding and take a hard and abrupt turn. Due to the erratic driving the corporal
                 attempted to follow and locate the vehicle. The corporal drove into a parking lot and was
                 able to locate the aforementioned vehicle. Although unoccupied, the vehicle’s license plate
                 showed the registered owner to be Mr. Alberto Martinez. Dispatch informed the corporal
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                 identifed the white crystalline substance to be methamphetamine. The search continued and
                 six individually wrapped balloons were located in Mr. Martinez’ front left jacket pocket. Mr.
                 Martinez was read his constitutional rights (Miranda warnings) and he informed the corporal
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